  8:13-cr-00286-JFB-TDT       Doc # 37     Filed: 08/21/13   Page 1 of 1 - Page ID # 54




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )                                8:13CR286
               Plaintiff,     )
                              )
     vs.                      )                                  ORDER
                              )
VICENTE DE LAO-OLVERA and     )
JOSE PABLO BOJORQUEZ-QUEVEDO, )
                              )
               Defendants.    )
       This matter is before the court on the motion of the government and the defendants
for an extension of the discovery and pretrial motion deadlines The motion was made
during the arraignment on the Indictment on August 21, 2013. The defendants had no
objection to the motion. The oral motion was granted.
       IT IS ORDERED:
       1.     The motion for an extension of time for discovery and to file pretrial motions
is granted. The parties shall have to on or before September 6, 2013, in which to
complete discovery and shall have to on or before September 27, 2013, in which to file
pretrial motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from August 21, 2013, and September 27,
2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant’s counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 21st day of August, 2013.
                                                 BY THE COURT:


                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
